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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

Joe Johnson,

       Plaintiff,
                                                     Case No.: 8:22-cv-02422-TDC
v.
                                                     Hon. Theodore D. Chuang
Think Computer Corporation
       d/b/a PLAINSITE,

       Defendant.


                                CERTIFICATE OF SERVICE

       I hereby certify that the service required by Federal Rule of Civil Procedure 5(a) has been

made upon Plaintiff Joe Johnson of the following papers as indicated below:

Paper                                                Date filed       How and when served
ECF 6 - NOTICE OF REMOVAL,                           Sept. 28, 2022   Sept. 28, 2022 by USPS
AMENDED from Johnson vs Think Computer                                Priority Mail; Sept. 30, 2022
Corporation case number CAL2221998 and                                by email
Attachments: # 1 Exhibit A - Transfer Order, #
2 Exhibit B - Summons and Complaint, # 3
Exhibit C -Scheduling Order
ECF 7 Local Rule 103.3 Disclosure Statement          Sept. 28, 2022   Sept. 28, 2022 by USPS
by Think Computer Corporation                                         Priority Mail; Sept. 30, 2022
                                                                      by email
ECF 9 CERTIFICATE of Counsel pursuant to             Sept. 30, 2022   Sept. 30, 2022 by USPS
Standing Order 2021-13                                                Certified Mail; Sept. 30,
                                                                      2022 by email
ECF 13 MOTION to Appear Pro Hac Vice for             Sept. 30, 2022   Sept. 30, 2022 by USPS
Paul Alan Levy                                                        Certified Mail; Sept. 30,
                                                                      2022 by email
ECF 14 CERTIFICATE of Counsel of                     Oct. 1, 2022     Oct. 1, 2022 by email
compliance with 18 U.S.C. 1446(d)


Mail service addressed to:

       Joe Johnson
       P.O. Box 441572
       Fort Washington, MD 20749



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Email service made with written consent to gmail.com email address.


October 1, 2022                                   ____/s/_____________________________
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                                                  Attorney for Think Computer Corporation




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